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Information to identify the case:
Debtor 1              Sean Christopher Stenson                                          Social Security number or ITIN        xxx−xx−2360
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Linda Rossi Stenson                                               Social Security number or ITIN        xxx−xx−8635
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                        Date case filed for chapter 7 11/13/18
Case number:          3:18−bk−03980−JAF


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Sean Christopher Stenson                            Linda Rossi Stenson

2.      All other names used in the
        last 8 years

3.     Address                                   1921 Belhaven Drive                                1921 Belhaven Drive
                                                 Orange Park, FL 32065                              Orange Park, FL 32065

4.     Debtor's attorney                         Katheryn Hancock                                   Contact phone 904−982−7212
                                                 The Hancock Firm, P.A.
       Name and address                          681 Atlantic Blvd.                                 Email: kh@thehancockfirm.com,
                                                 Atlantic Beach, FL 32233

5.     Bankruptcy Trustee                        Gregory K. Crews                                   Contact phone 904−354−1750
                                                 8584 Arlington Expressway
       Name and address                          Jacksonville, FL 32211

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
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Debtor Sean Christopher Stenson and Linda Rossi Stenson                                                       Case number 3:18−bk−03980−JAF


6. Bankruptcy Clerk's Office                     300 North Hogan Street Suite 3−150                          Hours open:
                                                 Jacksonville, FL 32202                                      Monday − Friday 8:30 AM −
   Documents in this case may be filed at this                                                               4:00PM
   address. You may inspect all records filed
   in this case at this office or online at
   www.pacer.gov.                                                                                            Contact phone 904−301−6490

                                                                                                             Date: November 15, 2018

7. Meeting of creditors                          December 14, 2018 at 10:00 AM                               Location:

   Debtors must attend the meeting to be         The meeting may be continued or adjourned to a FIRST FLOOR, 300 North Hogan
   questioned under oath. In a joint case,       later date. If so, the date will be on the court St. Suite 1−200, Jacksonville, FL
   both spouses must attend. Creditors may
   attend, but are not required to do so. You    docket.                                          32202
   are reminded that Local Rule 5073−1
   restricts the entry of personal electronic      *** Debtor(s) must present Photo ID and acceptable
   devices into the Courthouse.                   proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                          The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or                 Filing deadline: February 12, 2019
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                     motion asking the court to extend the deadlines in this notice. Consult an attorney
                                     familiar with United States bankruptcy law if you have any questions about your rights
                                     in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.

13. Voice Case Info. System                      McVCIS provides basic case information concerning deadlines such as case opening and closing
    (McVCIS)                                     date, discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day
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                                              except when routine maintenance is performed. To access McVCIS toll free call
                                              1−866−222−8029.
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